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11                              UNITED STATES COURT OF APPEALS

12                                     FOR THE NINTH CIRCUIT
13     NATIONAL ASSOCIATION FOR GUN                       9th Cir. No. 23-16091
14     RIGHTS, INC., a non-profit corporation, and
       MARK SIKES, an individual, HOWARD                  STIPULATED MOTION TO VOLUNTARILY
15     JARVIS TAXPAYERS ASSOCIATION, a                    DISMISS APPEAL AS TO APPELLANTS
       non-profit corporation, SILICON VALLEY             NATIONAL ASSOCIATION FOR GUN
16     TAXPAYERS ASSOCIATION, a non-profit                RIGHTS, INC. AND MARK SIKES
17     corporation, SILICON VALLEY PUBLIC
       ACCOUNTABILITY FOUNDATION, a non-
18     profit corporation, JAMES BARRY, an
       individual, GEORGE ARRINGTON, an
19     individual,
20                   Plaintiffs – Appellants
21                   v.
22
       CITY OF SAN JOSE, a public entity,
23     JENNIFER MAGUIRE, in her official capacity
       as City Manager of the City of San Jose, and the
24
       CITY OF SAN JOSE CITY COUNCIL,
25
26                   Defendants – Appellees.

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     Stipulated Motion to Voluntarily Dismiss Appeal                              No: 23-16091
           Case: 23-16091, 12/20/2023, ID: 12840109, DktEntry: 16, Page 2 of 3


            Pursuant to Federal Rule of Appellate Procedure 42(b), all parties hereby move the Court for
1
2    an order dismissing Appellants National Association for Gun Rights, Inc. and Mark Sikes from the

3    above-captioned appeal. All other appellants remain in the action.
4
            The parties have agreed that each party shall bear its own costs and fees with respect to the
5
     National Association for Gun Rights, Inc. and Mark Sikes appeals.
6
7           Dated: December 20, 2023
8
9      By: _s/ Tamarah P. Prevost                     By: _s/ Mark P. Meuser_________
       Joseph W. Cotchett                             Harmeet K. Dhillon
10     Melissa Montenegro                             Mark P. Meuser
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26                                                    Appellants, Howard Jarvis Taxpayers
                                                      Association, Silicon Valley Taxpayers
27                                                    Association, Inc., Silicon Valley Public
                                                      Accountability Foundation, James Barry,
28                                                    and George Arrington


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     Stipulated Motion to Voluntarily Dismiss Appeal                              No: 23-16091
           Case: 23-16091, 12/20/2023, ID: 12840109, DktEntry: 16, Page 3 of 3


                     ATTESTATION OF OTHER PARTIES’ CONSENT TO FILING
1
2    I, Mark P. Meuser, hereby attest that all other parties on whose behalf this filing is submitted concur
     in the filing’s content.
3
     By: _s/ Mark P. Meuser_________
4
         Mark P. Meuser
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     Stipulated Motion to Voluntarily Dismiss Appeal                               No: 23-16091
